        Case 2:21-cr-00142-TOR    ECF No. 9   filed 10/06/21   PageID.23 Page 1 of 4
                                                                                         FILED IN THE
                                                                                     U.S. DISTRICT COURT
                                                                               EASTERN DISTRICT OF WASHINGTON



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8                      UNITED STATES DISTRICT COURT
9                 FOR THE EASTERN DISTRICT OF WASHINGTON
10
     UNITED STATES OF AMERICA,
11                                                   2:21-cr-00142-TOR
12                            Plaintiff,             INDICTMENT
13
                                                     Vio.: 21 U.S.C. §§ 841(a)(1),
14                    v.                                   (b)(1)(A)(vi), 846
15                                                         Conspiracy to Distribute 400
     HUNTER BOW O’MEALY,                                   Grams or More of Fentanyl
16
                     and                                   (Count 1)
17
18                                                         21 U.S.C. § 841(a)(1),
                                                           (b)(1)(B)(vi)
19                            Defendants.
                                                           Distribution of 40 Grams or
20                                                         More of Fentanyl
                                                           (Counts 2 – 3)
21
22                                                         21 U.S.C. § 853
23                                                         Forfeiture Allegations
24
           The Grand Jury charges:
25
                                           COUNT 1
26
27         Beginning on a date unknown, but by May 2021, and continuing until on or

28   about October 1, 2021, in the Eastern District of Washington and elsewhere, the
     Defendants, HUNTER BOW O’MEALY,                                     and

     INDICTMENT – 1
        Case 2:21-cr-00142-TOR       ECF No. 9   filed 10/06/21   PageID.24 Page 2 of 4




1                          , and other individuals, both known and unknown to the
2    Grand Jury, did knowingly and intentionally combine, conspire, confederate and
3    agree together with each other to commit the following offense: distribution of 400
4    grams or more of a mixture or substance containing a detectable amount of N-
5    phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide (a/k/a Fentanyl), a
6
     Schedule II controlled substance, in violation of 21 U.S.C. §§ 841(a)(1),
7
     (b)(1)(A)(vi), 846.
8
                                           COUNT 2
9
           On or about August 24, 2021, in the Eastern District of Washington and
10
     elsewhere, the Defendants, HUNTER BOW O’MEALY,
11
12   and                                 did knowingly and intentionally distribute 40

13   grams or more of a mixture or substance containing a detectable amount of N-
14   phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide (a/k/a Fentanyl), a
15   Schedule II controlled substance, in violation of 21 U.S.C. § 841(a)(1),
16   (b)(1)(B)(vi), 18 U.S.C. § 2.
17                                         COUNT 3
18         On or about September 21, 2021, in the Eastern District of Washington and
19   elsewhere, the Defendants, HUNTER BOW O’MEALY,
20   and                                 did knowingly and intentionally distribute 40
21
     grams or more of a mixture or substance containing a detectable amount of N-
22
     phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide (a/k/a Fentanyl), a
23
     Schedule II controlled substance, in violation of 21 U.S.C. § 841(a)(1),
24
     (b)(1)(B)(vi), 18 U.S.C. § 2.
25
                 NOTICE OF CRIMINAL FORFEITURE ALLEGATIONS
26
27         The allegations contained in this Indictment are hereby re-alleged and

28   incorporated by reference for the purpose of alleging forfeitures.



     INDICTMENT – 2
          Case 2:21-cr-00142-TOR    ECF No. 9    filed 10/06/21   PageID.25 Page 3 of 4




1           Pursuant to 21 U.S.C. § 853, upon conviction of an offense of violation of
2    21 U.S.C. §§ 841(a)(1), 846, as charged in Counts 1 – 3 of this Indictment, the
3    Defendants, HUNTER BOW O’MEALY,                                       and
4                            shall forfeit to the United States of America, any property
5    constituting, or derived from, any proceeds obtained, directly or indirectly, as the
6
     result of such offense(s) and any property used or intended to be used, in any
7
     manner or part, to commit or to facilitate the commission of the offense(s).
8
            If any forfeitable property, as a result of any act or omission of the
9
     Defendant(s):
10
            (a) cannot be located upon the exercise of due diligence;
11
12          (b) has been transferred or sold to, or deposited with, a third party;

13          (c) has been placed beyond the jurisdiction of the court;
14          (d) has been substantially diminished in value; or
15          (e) has been commingled with other property which cannot be divided
16          without difficulty,
17   //
18   //
19   //
20   //
21
     //
22
     //
23
     //
24
     //
25
     //
26
27   //

28   //
     //

     INDICTMENT – 3
        Case 2:21-cr-00142-TOR     ECF No. 9    filed 10/06/21   PageID.26 Page 4 of 4




1    the United States of America shall be entitled to forfeiture of substitute property
2    pursuant to 21 U.S.C. § 853(p).
3          DATED: this ___day of October 2021.
4
                                                A TRUE BILL
5
6
7                                               __________________________
                                                Foreperson
8
9    __________________________
     Joseph Harrington
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     Acting United States Attorney
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     __________________________
13
     Stephanie Van Marter
14   Assistant United States Attorney
15
16   __________________________
17   Richard R. Barker
18   Assistant United States Attorney
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     INDICTMENT – 4
